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AO 121 (Rev. 06/16)
TO:

                  Register of Copyrights                                                               REPORT ON THE
                   U.S. Copyright Office                                                       FILING OR DETERMINATION OF AN
                101 Independence Ave. S.E.                                                            ACTION OR APPEAL
                Washington, D.C. 20559-6000                                                        REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL                                   United States District Court for the Southern District of New York,
DOCKET NO.                          DATE FILED                            500 Pearl Street, New York, NY 10007
      1:20-cv-08176                           10/1/2020
PLAINTIFF                                                                             DEFENDANT
Yoko Ono Lennon                                                                       Frederic Seaman




       COPYRIGHT
                                                                TITLE OF WORK                                                AUTHOR OR WORK
    REGISTRATION NO.

1 VA 950-558                         Imagine: John & Yoko Aboard the Imagine                                        Yoko Ono Lennon

2 VA 950-559                         Imagine: The Lennons on Bikes                                                  Yoko Ono Lennon

3 VA 950-557                         Imagine - Sean and Julian                                                      Yoko Ono Lennon

4 VA 946-752                         John and Sean in Bermuda                                                       Yoko Ono Lennon

5 VAu 428-951                        The Lennon Family III Chronology                                               Yoko Ono Lennon


      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill             G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                                AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                       DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                              DATE



                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),       3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                    mail copy to Register of Copyrights
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                      4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy



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                ADDENDUM TO AO 121 FORM COPYRIGHT
    COPYRIGHT          TITLE OF WORK                 AUTHOR OR WORK
REGISTRATION NO.
6. VAu 523-944   The Lennon Family III Chronology      Yoko Ono Lennon
                 Supplement
7. VAu 440-333   The Lennon Family, Series I           Yoko Ono Lennon
8. VAu 440-340   The Lennon Family – Series II         Yoko Ono Lennon
